Case 2:18-cv-02217-SJO-FFM Document 38-1 Filed 04/13/18 Page 1 of 7 Page ID #:733



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      and MICHAEL COHEN
    8
    9                       UNITED STATES DISTRICT COURT
   10                     CENTRAL DISTRICT OF CALIFORNIA
   11
                                                 Case No. 2:18-CV-02217-SJO-FFM
   12 STEPHANIE CLIFFORD a.k.a.
      STORMY DANIELS a.k.a. PEGGY
   13 PETERSON, an individual,                   DECLARATION OF BRENT H.
                                                 BLAKELY IN SUPPORT OF JOINT
   14                                            EX PARTE APPLICATION OF
                   Plaintiff,
   15                                            DEFENDANTS ESSENTIAL
                                                 CONSULTANTS, LLC, DONALD J.
   16        v.
                                                 TRUMP AND MICHAEL COHEN
   17 DONALD J. TRUMP a.k.a. DAVID               FOR A STAY OF THIS ACTION

   18 DENNISON, an individual,
      ESSENTIAL CONSULTANTS, LLC, a
   19 Delaware Limited Liability Company,        Assigned for All Purposes to the
                                                 Hon. S. James Otero
   20 MICHAEL COHEN, an individual, and
      DOES 1 through 10, inclusive,
   21                                            Action Filed: March 6, 2018
   22                Defendants.

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                                DECLARATION OF BRENT H. BLAKELY
Case 2:18-cv-02217-SJO-FFM Document 38-1 Filed 04/13/18 Page 2 of 7 Page ID #:734



    1                      DECLARATION OF BRENT H. BLAKELY
    2        I, Brent H. Blakely, declare:
    3         1.    I am an attorney duly licensed to practice before all courts of the State of
    4 California and in the U.S. District Court for the Central District of California, among
    5 other courts. I make this declaration based on my own personal knowledge and, if
    6 called and sworn as a witness, I could and would competently testify hereto.
    7         2.    I am a partner of the law firm of Blakely Law Group, counsel of record
    8 for Defendants Essential Consultants, LLC (“EC”) and Michael Cohen (“Mr.
    9 Cohen”).
   10         3.    As was widely reported, I can confirm that on April 9, 2018, the Federal
   11 Bureau of Investigation (“FBI”) raided Mr. Cohen’s residence, office and hotel room,
   12 located in New York. In the course of this raid, the FBI sought documents in Mr.
   13 Cohen’s possession relating to several topics, including the payment of $130,000 to
   14 Plaintiff Stephanie Clifford (“Plaintiff”), which is at issue in this action. Accordingly,
   15 the ongoing criminal investigation involves facts that overlap with the facts alleged in
   16 this case. Attached hereto as Exhibit A is a true and correct copy of the article
   17 entitled, “DOJ: Michael Cohen ‘under criminal investigation’”, which was published
   18 by CNN on or about April 13, 2018, at the following URL:
   19 https://www.cnn.com/2018/04/13/politics/michael-cohen-hearing-fbi-raid/index.html.
   20         4.    As of the date of the aforementioned raid, April 9, 2018, Defendants’
   21 response deadlines in connection with the currently pending motions in this action
   22 were as follows: EC’s and Mr. Trump’s deadline to file replies in support of EC’s
   23 Motion to Compel Arbitration: Monday, May 16, 2018; EC’s and Mr. Trump’s
   24 deadline to file oppositions to Plaintiff’s Motion for Expedited Discovery and Jury
   25 Trial: Wednesday April 17, 2018; Mr. Cohen’s deadline to file a reply in support of
   26 his Motion to Strike Plaintiff’s First Amended Complaint: Monday, April 23, 2018.
   27         5.    As a party to this action and EC’s principal, Mr. Cohen is a key witness
   28 in this action and Defendants’ most knowledgeable person with respect to the facts
                                             -2-
                               DECLARATION OF BRENT H. BLAKELY
Case 2:18-cv-02217-SJO-FFM Document 38-1 Filed 04/13/18 Page 3 of 7 Page ID #:735



    1 underlying this action.
    2         6.    On April 12, 2018, I conferred telephonically with Plaintiff’s counsel,
    3 Mr. Avenatti, over the telephone, and advised him that Defendants intended to bring
    4 the instant ex parte application for a stay. In response, Mr. Avenatti advised that
    5 Plaintiff would not consent to a stay and would oppose this request. Following this
    6 telephone call, I emailed Mr. Avenatti the authority upon which Defendants intended
    7 to rely on in support of their ex parte application, a copy of Judge Birotte’s ruling in
    8 Chrome Hearts, LLC v. Old School Fairfax, Inc. (CDCA Case No. 16-cv-09080),
    9 wherein Judge Birotte granted a stay under similar circumstances. Shortly thereafter,
   10 I, along with counsel for Mr. Trump, Charles Harder, had an additional telephone
   11 conference with Mr. Avenatti about Defendants’ ex parte application. Having
   12 reviewed Judge Birotte’s ruling, Mr. Avenatti advised that Plaintiff still intended to
   13 oppose Defendants’ request for a stay. The parties stipulated to a briefing schedule in
   14 connection with this ex parte application and also to a seven-day continuance of the
   15 parties’ respective response deadlines in connection with all pending motions.
   16        I declare under penalty of perjury under the laws of the United States of
   17 America that the foregoing is true and correct.
   18        Executed on April 13, 2018, at Los Angeles, California.
   19
                                            /s/ Brent H. Blakely
   20                                       BRENT H. BLAKELY
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                                DECLARATION OF BRENT H. BLAKELY
Case 2:18-cv-02217-SJO-FFM Document 38-1 Filed 04/13/18 Page 4 of 7 Page ID #:736




                Exhibit A
DOJ: Michael Cohen 'under criminal investigation' - CNNPolitics        Page 1 of 3
Case 2:18-cv-02217-SJO-FFM Document 38-1 Filed 04/13/18 Page 5 of 7 Page ID #:737




    DOJ: Michael Cohen 'under criminal
 investigation'
 By Katelyn Polantz, Kara Scannell and Julia Jones, CNN

 Updated 4:16 PM ET, Fri April 13, 2018




 (CNN) — Michael Cohen, President Donald Trump's personal attorney, has been "under criminal
 investigation" for months in New York because of his business dealings, the Justice Department said
 Friday.

                                                          The revelation comes amid a courtroom drama
                                                          that unfolded Friday, as Cohen's attorneys and
                                                          Trump's attorneys began a fight hours before with
                                                          the US Attorney's Office in Manhattan over a
                                                          massive raid of Cohen's records.

                                                          Cohen's attorneys have filed a temporary
                                                          restraining order in the matter, asking the court to
                                                          stop federal prosecutors from using some of the
                                                          records they seized. Cohen did not appear in court
                                                          Friday morning and has not been charged with a
   Related Article: Michael Cohen facilitated             crime.

   $1.6 million payment on behalf of GOP             In response to Cohen's motion to prevent
   fundraiser                                        prosecutors from using evidence collected in
                                                     Monday's raids of his home and office, the US
                                                     attorney in New York asserted the raids were
                                                     authorized by a federal judge to seek evidence of
 conduct "for which Cohen is under criminal investigation."

 A court filing did not detail what Cohen is under investigation for.

 But the filing contains the first details released by the Justice Department on the searches, which
 covered Cohen's residence, hotel room, office, safety deposit boxes and two cell phones. Previous
 search warrants allowed New York federal prosecutors to search multiple email accounts, the filing
 said. In them, they found that Cohen had done "little to no legal work, and that zero emails were
 exchanged with President Trump."

 The prosecutors assert that they have confidence that any seized material would not fall under the
 significant amount of attorney-client privilege that Cohen has claimed. They said Cohen has told at least
 one witness that his only client was Trump.

 The prosecutors noted Cohen had personally not turned over any documents to Robert Mueller's
 Special Counsel investigation. Initially, Mueller had requested some records from Cohen while he was
 with the Trump family company — a position he held for about a decade — yet dropped the request




https://www.cnn.com/2018/04/13/politics/michael-cohen-hearing-fbi-raid/index.html                    4/13/2018
DOJ: Michael Cohen 'under criminal investigation' - CNNPolitics        Page 2 of 3
Case 2:18-cv-02217-SJO-FFM Document 38-1 Filed 04/13/18 Page 6 of 7 Page ID #:738


 after Cohen pushed back. Mueller's office referred the case about his business dealings to New York
 but hasn't been involved since, the Manhattan prosecutors said.

 Monday's raids included a search for communications related to efforts to suppress negative
 information ahead of the election, including communications that Trump had with Cohen regarding the
 infamous "Access Hollywood" tape that captured Trump making lewd remarks about women that
 surfaced a month before the election, CNN reported this week.

 It also potentially involved records related to porn star Stormy Daniels, who was paid $130,000 weeks
 before the election to silence an alleged affair she had with Trump. Records related to Cohen's taxi
 medallion business were also sought.

                                                      Prosecutors say they've set up what's known as a
                                                      "taint team" or "filter team" to review Cohen's
                                                      documents so nothing they seized is used
                                                      improperly or breaches client confidentiality.

                                                      Each search warrant specifically describes how
                                                      records seized that may fall into attorney-client
                                                      privilege will be filtered out by a team that's walled
                                                      off from the federal agents who have conducted
                                                      the investigation, the prosecutors wrote.

                                                  Once they've reviewed the records, the filter team
   Related Article: FBI may have seized
                                                  can give to the investigators communications
  recorded conversations from Trump's             "between Cohen and persons with whom Cohen
  attorney                                        undisputedly does not have an attorney-client
                                                  relationship," likely meaning the records wouldn't
                                                  be between Cohen and Trump, prosecutors said.
                                                  The filter team is working from a list of individuals
 and companies they've compiled regarding people who aren't Cohen's legal clients.

 Cohen's lawyers, for their part, have asked to review the material for themselves, a proposal which the
 Manhattan prosecutors are fighting.

 The Southern District of New York prosecutors also heard from Trump Organization lawyers, who want
 them to throw out all communication between Cohen, the company and its employees.

 Following the hearing Friday, the court matter is on pause until 4 pm.

 Joanna Hendon, a new lawyer for Trump who appeared in court, said her law firm, Spears & Imes LLP,
 was engaged by Trump on Wednesday and she was "not prepared" to present her argument.

 The Justice Department is asking for a so-called taint team to vet the material seized in the raids
 Monday, as is standard process. Cohen's lawyer is asking for the lawyers themselves to review the
 material or a "special master" to decide what is relevant to the case, and Hendon is concerned about a
 taint team or however the material is handled.

 On Monday, Cohen's attorney called the searches "completely inappropriate and unnecessary."

 "It resulted in the unnecessary seizure of protected attorney client communications between a lawyer
 and his client," attorney Stephen Ryan said in the statement.




https://www.cnn.com/2018/04/13/politics/michael-cohen-hearing-fbi-raid/index.html                  4/13/2018
DOJ: Michael Cohen 'under criminal investigation' - CNNPolitics        Page 3 of 3
Case 2:18-cv-02217-SJO-FFM Document 38-1 Filed 04/13/18 Page 7 of 7 Page ID #:739


 Michael Avenatti, a lawyer for Stormy Daniels, also made an appearance at the hearing. In a footnote in
 its filing, the prosecutors expressed doubt that any communications between Trump and Cohen
 regarding a payoff to Daniels before the election would be covered under attorney-client privilege. They
 cited the President's own comments.

 "Among other things, President Trump has publicly denied knowing that Cohen paid Clifford, and
 suggested to reporters that they had to "ask Michael" about the payment," the footnote argues, citing a
 story by CNN's Kevin Liptak.

 This story has been updated.




                                                                  Why Trump chickened out of
                                                                  going to Peru



                                                                  Nikolas Cruz, brother might
                                                                  have $1 million in bank,
                                                                  attorney says


                                                                  GOP congressman disagrees
 The world's most over-the-top                                    with Trump over response to
 hotel rooms                                                      Cohen raid




https://www.cnn.com/2018/04/13/politics/michael-cohen-hearing-fbi-raid/index.html               4/13/2018
